Case: 23-20348            Document: 90-1         Page: 1      Date Filed: 08/27/2024




           United States Court of Appeals
                for the Fifth Circuit                                        United States Court of Appeals
                                                                                      Fifth Circuit

                                   ____________                                     FILED
                                                                              August 27, 2024
                                    No. 23-20348                               Lyle W. Cayce
                                   ____________                                     Clerk

United States of America,

                                                                    Plaintiff—Appellee,

                                          versus

Cheryl Christin Kissentaner,

                                            Defendant—Appellant.
                   ______________________________

                   Appeal from the United States District Court
                       for the Southern District of Texas
                            USDC No. 4:22-CR-157-1
                   ______________________________

Before Jolly, Southwick, and Duncan, Circuit Judges.
E. Grady Jolly, Circuit Judge: *
       A jury convicted Cheryl Kissentaner, under 26 U.S.C. § 7206(2), on
seven counts of aiding and assisting in the preparation and presentation of
false tax returns. The district court imposed an above-guidelines sentence of
144 months of imprisonment and one year of supervised release. The district
court also ordered restitution to begin immediately. On appeal, Kissentaner
challenges her conviction, term of imprisonment, and the order of restitution.

       _____________________
       *
           This opinion is not designated for publication. See 5th Cir. R. 47.5.
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                                No. 23-20348


We AFFIRM the conviction and sentence, and MODIFY restitution as
provided in this opinion.
                                     I.
                                    A.
       Cheryl Kissentaner owned a Texas-based tax preparation business.
On March 30, 2022, she was indicted on 15 counts of aiding and assisting in
the preparation and presentation of false tax returns under 26 U.S.C. §
7206(2). ROA.23-29. Upon arrest, she was released on bond, conditioned
on her submission to supervision, seeking fulltime employment, and not
assisting with tax preparation. ROA.34, 38-43. The district court later
revoked her bond and committed her to custody for failing to comply with
these terms. ROA.157-64, 3146-47.
       At trial, IRS agent Greg Meyer set the stage for the government’s
investigation into Kissentaner. ROA.1728. Meyer testified to irregularities
in Kissentaner’s clients’ tax returns compared to national averages.
Furthermore, he testified that Kissentaner used false information in these
filings. ROA.1728-38. Meyer testified that 98 percent of Kissentaner’s
clients received refunds, while the national average is 77 percent; that 13
percent of her clients received a fuel tax credit for commercial vehicles
compared to 0.2 percent nationwide; and that 38 percent of her clients
received Schedule A itemized deductions compared to 30 percent
nationwide. ROA.1743-45. The court admitted into evidence tax returns
prepared by Kissentaner from 2015 to 2018 for these clients.
       Agent Meyer further testified that the IRS had sent an undercover
agent to Kissentaner’s business under the guise of having his tax return
prepared.   ROA.1746-47.     Kissentaner had him fill out a new client
information sheet. The undercover agent, however, left the client referral
section blank, which signaled to Kissentaner that the “new client” was not




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                                 No. 23-20348


part of her network. ROA.1749-52. Meyer testified that the operation failed
when the undercover agent’s return showed no reliance on false financial
information. Meyer offered the opinion that this failure likely occurred
because the agent had not included a client referral. ROA.1752. When the
court itself asked Meyer why the operation failed, Meyer responded that this
sort of operation often fails “[b]ecause they’re aware that they’re preparing
returns incorrectly, and they’re nervous.” ROA.1753. Meyer then listed
discrepancies that he found in the returns of five of Kissentaner’s clients.
ROA.1753-61.
       These same five clients testified at trial that Kissentaner used false
financial information in preparing their tax returns instead of the information
they had provided her. ROA.1832-51, 1891-96, 1905, 1928-96, 2034-35, 2082,
2089-2111, 2125-26, 2159-93, 2217, 2221. We note the following examples.
Two returns included tens of thousands of dollars of business loss deductions
for individuals who did not own businesses. ROA.1838-40, 2168-69, 2178-
79. Credits were listed on forms electronically submitted to the IRS that were
different from those listed on the forms given to the client. ROA.1845-46.
One client’s return included $98,601.00 in itemized deductions one year and
$84,754.00 the next, none of which were authorized by the client. ROA.1953-
55, 1961. One client’s returns listed $119,398.00 in business losses over a
three-year period for a business that was profitable. ROA.1960-61, 1972-82.
Clients further testified to receiving much larger tax returns when using
Kissentaner compared to other tax preparers. ROA.1849-50; 1896; 1930-31;
2117; 2129-30; 2211-12. One client testified to receiving a tax refund for years
in which he had paid no federal income tax. ROA.2167-93; 2228-33.
       There was also testimony that Kissentaner was forgetful about her
own tax obligations.     This failure had other adverse consequences for
Kissentaner. IRS agent Natasha March testified that Kissentaner failed to
file her personal tax returns between 2012 and 2017. ROA.2263. March



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testified further that an individual must be tax compliant in order to be issued
a Preparer Tax Identification Number (PTIN), which is required to prepare
tax returns for others. ROA.2265.
        During her closing argument, Kissentaner’s attorney made the most
of damning evidence: she conceded that the tax forms were false, but she
argued that Kissentaner had been tricked into using false information
provided by her clients. ROA.2363. The jury was not receptive to her
arguments; it convicted Kissentaner on seven counts. ROA.311-12, 329-35.
                                            B.
        And then came the sentencing. Kissentaner’s offense level and
criminal history score resulted in a guidelines range of 41 months to 51
months of imprisonment, one year of supervised release for each count, and
restitution. ROA.3111-19. Kissentaner requested a downward variance, but
the government was having none of that; it argued for an upward variance.
ROA.3157-63, 3271-87. The district court ultimately sentenced Kissentaner
to 144 months of imprisonment and one year of supervised release. In
imposing this sentence, the court explained that the guidelines addressed
neither her past criminal history nor her failure to comply with her pretrial
release conditions. 1       ROA.2443-44. The district court further imposed
restitution of $71,810.00 as a term of supervised release; the court, however,
erroneously ordered restitution payments to begin immediately. ROA.322-
23, 335, 2444-45.
                                            II.

        _____________________
        1
          Kissentaner has four previous convictions: (1) failure to stop and give information
for striking a victim with a vehicle and fleeing; (2) carrying a weapon while on probation;
(3) evading arrest when an officer was investigating a shooting; and (4) retaliation, which
involved assisting in killing a man to prevent him from testifying at trial. ROA.3112-14.




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                                       No. 23-20348


        We focus on the merits of Kissentaner’s appeal. She asserts errors
based on: agent Meyer’s “overview testimony” relating to the falsity of the
client tax returns; 2 agent Meyer’s testimony explaining why he believed the
undercover operation failed; and the testimony of her failure to file timely her
own personal taxes.          She further challenges the reasonableness of her
sentence and the legality of the restitution order. We proceed to address each
challenge.
                                             A.
        We first turn our attention to Kissentaner’s arguments that the
district court erred by allowing agent Meyer to testify (1) that information in
her clients’ tax returns was “false” and (2) why tax sting operations focusing
on tax preparers often fail. Appellant’s Br. at 12-19. Kissentaner concedes
that she did not preserve these arguments for appeal. Appellant’s Br. at 12.
We review such unpreserved issues for plain error. United States v. Howard,
766 F.3d 414, 419 (5th Cir. 2014). To establish plain error, an appellant must
show (1) an error (2) that is “clear or obvious” and (3) that affects
“substantial rights.” Puckett v. United States, 556 U.S. 129, 135 (2009). If
these showings are made, this court has discretion to correct the error only if
it seriously affects the fairness, integrity, or public reputation of judicial
proceedings. Id.        At trial, agent Meyer testified to the falsity of the information in
Kissentaner’s clients’ tax returns before the jury heard the clients’ testimony
about the falsity of their respective tax returns. ROA.1728-45. Kissentaner’s
attorney, however, conceded at trial that the information, which Kissentaner

        _____________________
        2
          Overview testimony refers to testimony in which a witness summarizes evidence
that has not yet been presented to the jury . United States v. Griffin, 324 F.3d 330, 349 (5th
Cir. 2003).




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                                No. 23-20348


had inserted in the tax returns, was “false.” By such admission that the
information was false, Kissentaner has waived her challenge to this
testimony.
       Agent Meyer’s testimony concerning the reasons why undercover
operations sometimes fail is at issue, however. To summarize the facts
relevant: the district judge asked agent Meyer why the operation failed, and
Meyer responded that such operations often fail when the target becomes
nervous because he or she is sensitive to the illicit nature of the business.
ROA.1752-53.    Kissentaner argues that the admission of this evidence
violated Federal Rules of Evidence 704(b), which prohibits expert testimony
regarding whether a defendant acted with a mental state when the mental
state is an element of a charged crime. Fed. R. Evid. 704(b). The Supreme
Court, however, recently addressed a similar question. The Supreme Court
held testimony that “most” criminals have a particular mental state relative
to crime at issue is not prohibited by Rule 704(b), because such testimony
does not definitively address the defendant’s mental state; thus, such
testimony leaves room for the jury to determine whether the defendant
herself had that mental state. United States v. Diaz, 144 S.Ct. 1727, 1733-35
(2024).   Agent Meyer’s testimony, i.e., his opinion why sting operations
often fail, left room for the jury to decide whether Kissentaner had the
requisite mental state; thus, the testimony did not violate Rule 704(b) under
Diaz. Accordingly, there was no error, plain or otherwise.
                                     B.
      Kissentaner next argues that the district court erred by allowing agent
March to testify that Kissentaner had failed to file timely her own personal
tax returns. She contends that the admission of this evidence violated Rule




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                                      No. 23-20348


404(b). 3 Appellant’s Br. at 27-40. Kissentaner timely objected to this
evidence. For our own purposes today, we will assume that the district court
abused its discretion by admitting this evidence. But even if the district court
erred, we further ask whether the error was harmless, i.e., “any error, defect,
irregularity, or variance that does not affect substantial rights must be
disregarded.” United States v. Ricard, 922 F.3d 639, 653 (5th Cir. 2019)
(internal quotation marks and citations omitted).
        To determine whether an error is harmless, we “review the facts of
the case and the evidence adduced at trial to determine the effect of the
unlawfully admitted evidence upon the other evidence adduced at trial and
upon the conduct of the defense.” United States v. Watkins, 741 F.2d 692,
695 (5th Cir. 1984) (internal quotation marks and citations omitted). An
error is harmless if, absent the impermissible taint, “the [other] evidence
remains not only sufficient to support the verdict but so overwhelming as to
establish the guilt of the accused beyond a reasonable doubt.” Id.        We find such overwhelming evidence here that supports the verdict
of guilt: specifically, we refer to the testimony of five of Kissentaner’s clients.
All testified to criminal malfeasance by Kissentaner, including preparation of
their tax returns with fanciful financial information that the clients had not
provided.     Even more flagrant, though, was a client’s testimony that
Kissentaner delivered to her a copy of her return, but submitted a completely
different return to the IRS on her behalf. ROA.1845-46. This testimony,
together with evidence of many thousands of dollars of willful and fraudulent
deductions, was overwhelming. Consequently, the admission of evidence
that Kissentaner had not timely filed her own returns was harmless in the
        _____________________
        3
         “Evidence of any other crime, wrong, or act is not admissible to prove a person’s
character in order to show that on a particular occasion the person acted in accordance with
the character.” Fed. R. Evid. 404(b).




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                                    No. 23-20348


light of the overwhelming evidence of her guilt of the crimes for which she
was convicted. In short, the district court committed no reversible err by
admitting evidence of Kissentaner’s failure to file timely her own tax returns.
                                         C.
       We now turn to Kissentaner’s sentence. She argues that the sentence
was substantively unreasonable.         Appellant’s Br. at 41-49.        Instead of
sentencing her within the guidelines range of 41 to 51 months, the district
court imposed a sentence of 144 months of imprisonment. ROA.2443-43.
       We review the reasonableness of a sentence for abuse of discretion.
This standard of review is “highly deferential” to the district court. United
States v. Hernandez, 876 F.3d 161, 166 (5th Cir. 2017) (citation omitted). As
we have said before, “the sentencing court is in a better position to find facts
and judge their import under the § 3553(a) factors with respect to a particular
defendant.” 4 Id. The district court is required to impose a sentence that is
sufficient but not greater than necessary to comply with the sentencing aims
of 18 U.S.C. § 3553(a). Gall v. United States, 552 U.S. 38, 50 n.6 (2007). A
sentence outside the guidelines range unreasonably fails to reflect the Section
3553(a) factors where it “(1) does not account for a factor that should have
received significant weight, (2) gives significant weight to an irrelevant or
improper factor, or (3) represents a clear error of judgment in balancing the



       _____________________
       4
          The Section 3553 factors, which are to be considered in imposing a sentence,
include, inter alia, “the nature and circumstances of the offense and the history and
characteristics of the defendant…the need for the sentence imposed…the kinds of
sentences available…the kinds of sentence and the sentencing range established for…any
pertinent policy statement…the need to avoid unwarranted sentence disparities among
defendants with similar records who have been found guilty of similar conduct; and…the
need to provide restitution to any victims of the offense.” 18 U.S.C. § 3553(a).




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sentencing factors.” United States v. Fraga, 704 F.3d 432, 440 (5th Cir. 2013)
(internal quotation marks and citation omitted).
       Here, the district court accounted for the criminal sentencing factors
we have noted in Section 3553(a). It then observed that “the guideline
sentence did not take into consideration the history and characteristics of this
defendant, including prior criminal history which were not considered[,]”
such as her delinquent personal taxes, use of an illicit PTIN, and failure to
cooperate with the pretrial conditions. ROA.2442-43. Kissentaner’s four
earlier convictions—one of which involved assisting in killing a man to
prevent his testifying at an upcoming trial—were not accounted for in the
guideline range. ROA.3112-13. District judges may appropriately consider
all of these factors when imposing a sentence. United States v. Smith, 440
F.3d 704, 709 (5th Cir. 2006); United States v. Harris, 702 F.3d 226, 230-31
(5th Cir. 2012). Accordingly, we hold that, in confecting Kissentaner’s
sentence, the district court properly weighed and balanced the relevant
factors. Fraga, 704 F.3d at 440.
       Kissentaner further argues her sentence warrants reversal because it
is above the average sentence imposed for this sort of criminal conduct. This
argument lacks persuasive punch because an “above average” length of a
sentence does not require reversal. United States v. Willingham, 497 F.3d 541,
544-45 (5th Cir. 2007). We thus conclude that Kissentaner has failed to show
that the district court abused its discretion in imposing her sentence.
                                            D.
       Kissentaner’s final argument is that the district court erred in ordering
restitution to begin immediately. 5           We review de novo the legality of

       _____________________
       5
           Kissentaner does not challenge the order of restitution or the amount ordered.




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                                 No. 23-20348


restitution. United States v. Penn, 969 F.3d 450, 458 (5th Cir. 2020). Here,
the district imposed, as a term of supervised release, a restitution order of
$71,810.00. Furthermore, the court separately ordered restitution payments
to begin immediately. ROA.322-23, 335, 2444.
       Although not authorized by statute, district courts may impose
restitution, as here, for Title 26 offenses as a term of supervised release.
United States v. Miller, 406 F.3d 323, 329 (5th Cir. 2005). In such cases,
however, restitution may only begin at the commencement of the term of
supervised release. United States v. Howard, 220 F.3d 645, 647 (5th Cir.
2000). It follows that the district court exceeded its statutory authority by
ordering restitution to begin immediately. The proper remedy for this error
is to modify the judgment to make clear that restitution is not required until
the beginning of her term of supervised release. United States v. Westbrooks,
858 F.3d 317, 328 (5th Cir. 2017), vacated on other grounds, 138 S. Ct. 1323
(2018).
                                    III.
       In sum, the judgment of the district court is, in all respects,
AFFIRMED as to Kissentaner’s conviction and sentence. However, we
hereby MODIFY the order of restitution to provide that no restitution is
due until the beginning of Kissentaner’s term of supervised release.
                                            AFFIRMED, as MODIFIED.




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